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            8                          UNITED STATES DISTRICT COURT
            9                        NORTHERN DISTRICT OF CALIFORNIA
           10                                   OAKLAND DIVISION
           11    ROBERT ROSS,                                 CASE NO. 4:19-CV-06669 (JST)
           12                      Plaintiff,                 DECLARATION OF ASHLEY E.
                                                              JOHNSON IN SUPPORT OF JOINT
           13         v.                                      ADMINISTRATIVE MOTION TO
                                                              FILE DISCOVERY LETTER BRIEF
           14    AT&T MOBILITY LLC, ONE TOUCH                 UNDER SEAL
                 DIRECT, LLC, and, ONE TOUCH
           15    DIRECT- SAN ANTONIO, LLC,
           16                      Defendant.
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Gibson, Dunn &    JOHNSON DECLARATION ISO JOINT ADMINISTRATIVE MOTION TO FILE DISCOVERY LETTER BRIEF
Crutcher LLP
                                                     UNDER SEAL
                                               CASE NO. 4:19-CV-06669 (JST)
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            1          I, Ashley E. Johnson, declare and state as follows:
            2          1.     I am an attorney at the law firm of Gibson, Dunn & Crutcher LLP who is
            3    admitted pro hac vice in this case on behalf of Defendant AT&T Mobility LLC
            4    (“AT&T”).
            5          2.     I have personal knowledge of the facts set forth herein. If called as a
            6    witness, I could and would competently testify to such matters.
            7          3.     On March 23, 2021, Plaintiff Robert Ross (“Ross”) and AT&T filed a joint
            8    motion to file a redacted version of the attachment to their joint Discovery Letter to
            9    Magistrate under seal.
           10          4.     The redacted version redacts a portion of the response to Interrogatory No.
           11    9 by AT&T, which was designated as Attorney’s Eyes Only pursuant to the Protective
           12    Order dated June 25, 2020 [Dkt 57] on the basis that it includes confidential and sensitive
           13    information regarding AT&T’s measures to prevent SIM swaps.
           14          5.     AT&T’s response to Interrogatory No. 9 is sealable and entitled to
           15    protection under the law because such measures are proprietary and kept confidential by
           16    AT&T to protect its customers and its commercial interests. In particular, public
           17    disclosure of AT&T’s security measures could harm customer security by making
           18    individuals who seek to perform unauthorized SIM swaps aware of facts surrounding
           19    such security measures.
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           21    Executed on this 23rd day of March, 2021, in Dallas, Texas.
           22    I declare under penalty of perjury that the foregoing is true and correct.
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                                                         By:       /s/ Ashley E. Johnson
           25                                                      Ashley E. Johnson
           26                                            Attorney for Defendant AT&T MOBILITY, LLC
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Gibson, Dunn &    JOHNSON DECLARATION ISO JOINT ADMINISTRATIVE MOTION TO FILE DISCOVERY LETTER BRIEF
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                                               CASE NO. 4:19-CV-06669 (JST)
